846 F.2d 69Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph Francis ALEXANDER, Jr., Plaintiff-Appellant,v.Saundra E. BANKS, Chief Clerk, Circuit Court for BaltimoreCity, Defendant- Appellee.
    No. 88-6505.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 29, 1988.Decided May 13, 1988.
    
      Ralph Francis Alexander, Jr., appellant pro se.
      James Goldsborough Klair, Assistant Attorney General, Julia Melville Freit, Office of Attorney General, for appellee.
      Before DONALD RUSSELL, SPROUSE, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Alexander v. Banks, C/A No. 87-2570-S (D.Md. Nov. 18, 1987).
    
    
      2
      AFFIRMED.
    
    